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                 IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

CHARLES JOHNSON AND            §
APRYL JOHNSON,                 §
                               §
           Plaintiffs,         §
                               §
v.                             §               Action No. 3:22-CV-1330-E
                               §
JP MORGAN CHASE BANK, N.A. AND §
CARRINGTON MORTGAGE            §
SERVICES, LLC                  §
                               §
           Defendants.         §

                                   ORDER

         Defendants’ Notice of Removal, filed on June 20, 2022, appears to

predicate subject matter jurisdiction upon diversity of citizenship, 28 U.S.C.

§ 1332, but fails to properly allege the citizenship of Defendant Carrington

Mortgage Services, LLC.     The party asserting diversity jurisdiction must

distinctly and affirmatively allege the citizenship of the parties. Smith v.

Toyota Motor Corp., 978 F.3d 280, 282 (5th Cir. 2020). The basis upon which

jurisdiction depends cannot be established argumentatively or by mere

inference. Illinois Cent. Gulf R.R. v. Pargas, Inc., 706 F.2d 633, 636 (5th Cir.

1983).

      The citizenship of an LLC is determined by the citizenship of all of its

members. Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir.
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2008). When a party is an LLC, the notice of removal needs to identify the

LLC’s members and allege their citizenship. See MidCap Media Fin. LLC v.

Pathway Data, Inc., 929 F.3d 310, 314 (5th Cir. 2019). Defendants’ notice of

removal alleges that Plaintiffs are Texas citizens, Defendant JP Morgan Chase

Bank, N.A., is an Ohio citizen, and Defendant Carrington Mortgage Services

LLC’s members are “natural persons who are not citizens of the state of

Texas.” Because Defendants failed to identify the LLC members and allege

their citizenship, Defendants have not distinctly and affirmatively alleged the

citizenship of Carrington Mortgage Services. See North Cypress Med. Ctr.

Operating Co. v. Travelers Prop. Cas. Co. of Am., No. H-09-1272, 2009 WL

10695071, at *4 (S.D. Tex. July 7, 2009); Smith v. Wal-Mart Stores, Inc., No.

EP-08-CV-085-PRM, 2008 WL 11333885, at *2 (W.D. Tex. June 23, 2008).

      Until Defendants properly allege Carrington Mortgage Services’

citizenship, this Court is not shown to have subject matter jurisdiction. See

Am. Motorists Ins. Co. v. Am. Emp’rs’ Ins. Co., 600 F.2d 15, 16 (5th Cir. 1979)

(per curiam). Accordingly, no later than 21 days from the date of this order,

Defendants must file an amended notice of removal that alleges diversity of

citizenship in conformity with 28 U.S.C. § 1332; otherwise, this action will be

remanded to state court.

      SO ORDERED; signed June 23, 2022.


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                                           Ada Brown
                                           UNITED STATES DISTRICT JUDGE
